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                                                               United States Bankruptcy Court
                                                                Central District of California
In re:                                                                                                                  Case No. 15-15311-TA
Freedom Communications, Inc.                                                                                            Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                   User: admin                                                                 Page 1 of 11
Date Rcvd: May 08, 2025                                                Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 10, 2025:
Recip ID                 Recipient Name and Address
db                     + Freedom Communications, Inc., c/o B Riley Advisory Services, Attn: Brad Smith, 30870 Russell Ranch Rd, Ste 250 Westlake, CA
                         91362-7372

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 10, 2025                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 8, 2025 at the address(es) listed below:
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        Case 8:15-bk-15311-SC Doc 3055 Filed 05/10/25 Entered 05/10/25 21:20:26                                                  Desc
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Date Rcvd: May 08, 2025                                     Form ID: pdf042                                                        Total Noticed: 1
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TOTAL: 245
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                                                                      CLERK U.S. BANKRUPTCY COURT
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6                                                                     BY bolte      DEPUTY CLERK


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8
                             UNITED STATES BANKRUPTCY COURT
9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                       SANTA ANA DIVISION
11
12   In re:                                         Case No.: 8:15-bk-15311-TA
                                                    Jointly Administered
13   Freedom Communications, Inc.
                                                    CHAPTER 11
14
                                                    ORDER CONTINUING POST-
15                                                  CONFIRMATION STATUS CONFERENCE
16                                                  AND SETTING DEADLINE FOR THE FILING
                                                    OF A MOTION TO DISMISS
                                      Debtor(s).
17
                                                 Continued date/time:
18   X Affects All Jointly Administered Debtors. Date:      July 2, 2025
                                                 Time:      11:00 AM
19                                               Courtroom: 5C
20
21            Reassignment to this Court is pending. Having reviewed the docket, the Court

22   finds good cause to order as follows:

23            1. The post-confirmation status conference set for May 12, 2025, is

24               CONTINUED to July 2, 2025, at 11:00 a.m. in Courtroom 5C, with a status

25               report due 14 days in advance.

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1       2. 'HEWRUPXVWILOHLWVPRWLRQWRGLVPLVVDQGVHWLWIRUKHDULQJRQWKLV&RXUW¶V
2           calendar, by no later than May 30, 2025.
3       IT IS SO ORDERED.
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25     Date: May 8, 2025

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